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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

UNITED STATES OF AMERICA,                   §
                                            §
VS.                                         § CRIMINAL ACTION NO. 2:14-CR-297-02
                                            §
ANTONIO MEDINA-SOTO,                        §
                                            §
          Defendant.                        §

 MEMORANDUM OPINION AND ORDER OF DETENTION PENDING TRIAL

         A detention hearing has been held in accordance with the Bail Reform Act, 18

U.S.C. § 3142(f). The following requires detention of the defendant pending trial in this

case:

         (1)   There is probable cause to believe the defendant committed an offense for

which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C.

§ 841(b)(1)(A); and

         (2)   The defendant has not rebutted the presumption that no condition or

combination of conditions will reasonably assure the appearance of the defendant as

required and the safety of the community.

         The evidence against the defendant meets the probable cause standard.       The

findings and conclusions contained in the Pretrial Services Report are adopted. The

Defendant is facing a ten-year minimum mandatory sentence. He has not proffered a

cash deposit, a co-surety, family members willing to vouch for him, or any support

system. He has significant ties to Mexico and his involvement in the conspiracy appears

to be extensive. He is a poor bond candidate.


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       The defendant is committed to the custody of the United States Marshal or his

designated representative for confinement in a corrections facility separate, to the extent

practicable, from persons awaiting or serving sentences or being held in custody pending

appeal. The defendant shall be afforded a reasonable opportunity for private consultation

with defense counsel. On order of a court of the United States or on request of an

attorney for the Government, the person in charge of the corrections facility shall deliver

the defendant to the United States Marshal for the purpose of an appearance in

connection with a court proceeding.

       ORDERED this 29th day of May, 2014.


                                             ___________________________________
                                             B. JANICE ELLINGTON
                                             UNITED STATES MAGISTRATE JUDGE




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